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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
             Plaintiff,                         )
                                                )
       vs.                                      )         Case No. 4:08CR00317 ERW
                                                )
JOSEPH MUGO and ROSE THIONGO,                   )
                                                )
             Defendants.                        )


                              MEMORANDUM AND ORDER

        This matter is before the Court upon the Report and Recommendation of United States

Magistrate Judge Terry I. Adelman [doc. #47] pursuant to 28 U.S.C. § 636(b). The Report

recommends that Defendant Joseph Mugo’s Motion to Dismiss Count IV of the Indictment as

Barred by Collateral Estoppel/Res Judicata [doc. #36] be denied. The Court notes that no

objections were filed to the Report and Recommendation within the time period afforded by 28

U.S.C. § 636(b)(1). The Court has considered the Report and Recommendation and hereby

sustains, adopts and incorporates herein the Magistrate’s Report and Recommendation in its

entirety.

        Accordingly,

        IT IS HEREBY ORDERED that Defendant’s Motion to Dismiss Count IV of the

Indictment as Barred by Collateral Estoppel/Res Judicata [doc. #36] is DENIED.

        Dated this 1st Day of December, 2008.



                                                    ____________________________________
                                                    E. RICHARD WEBBER
                                                    UNITED STATES DISTRICT JUDGE
